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                               UNITED STATES DISTRICT COURT
                           IN THE WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION


DANIEL WILLIAM RUDD,
                                                            Case No. 1:18-cv-124
              Plaintiff,
                                                            Honorable Gordon J. Quist
      v.                                                    U.S. District Court Judge

CITY OF NORTON SHORES, et al.,

            Defendants.
__________________________________/



   CERTIFICATE REGARDING EFFORTS TO OBTAIN CONCURRENCE
     RE: Plaintiff’s Motion for Sanctions against the Norton Shores Defendants


The undersigned certifies that he attempted to resolve the issues raised in
his motion for Rule 11 Sanctions in the manner described below.

Plaintiff delivered a copy of his Motion for Sanctions to counsel for all the parties on
9/21/18.

On 9/24/18, Plaintiff followed up with Mr. Callahan to see if the concerns could be
resolved in an expedited manner (because of the work involved in responding to three
dispositive motions while also attempting to produce an amended complaint).

Mr. Callahan indicated that he would run the matter by his clients.

Plaintiff followed up again with an email on 9/26/18.

Mr. Callahan indicated that he had not heard back from his clients, but that he (Mr.
Callahan) believed that Plaintiff’s motion for sanctions was itself sanctionable.

On 10/2/18, Plaintiff sent an email to Mr. Callahan stating:

    “Mr.	Callahan,	if	you	could	please	identify	which	portions	of	my	proposed	Rule	
    11	 motion	 are	 sanctionable	 (and	 why),	 I	 will	 consider	 withdrawing	 those	
    portions.		Would	it	be	possible	to	provide	this	information	in	the	next	two	days,	
    and	also	let	me	know	if	your	client	intends	to	withdraw	any	of	the	challenged	
    claims?			Thank	you,		Daniel	Rudd”



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On 10/2/18, Mr. Callahan responded, advised that:

    “As	to	why	I	think	the	motion	itself	could	be	sanctionable,	I	do	not	believe	it	is	
    brought	for	a	proper	purpose	and	not	well	founded	in	law..			

    As	 to	 whether	 the	 motion	 to	 dismiss	 will	 be	 withdrawn,	 I	 have	 not	 been	
    directed	to	do	that,	and	I	submit	you	should	not	expect	that	it	will	happen.		

    Circling	back	a	bit,	I	anticipate	the	motion	for	protective	order	should	be	filed	
    tomorrow,	or	Thursday	at	the	latest.”	

On 10/2/18, Plaintiff responded:

    “Thanks	for	your	response.		I'll	need	something	more	specific	if	I'm	going	to	
    withdraw	any	portions	of	my	sanctions	motion.		

    RE:	The	protective	order	--	I	still	plan	to	oppose	a	motion	for	a	complete	stay	of	
    discovery.		However,	I	remain	open	to	suggestion	on	what	you	think	would	be	
    more	proportional	discovery	---	or	some	kind	of	plan	for	phased	discovery	that	
    makes	 for	 efficient	 resolution	 of	 dispositive	 motions	 without	 halting	 all	
    discovery.		I'm	not	really	able	to	conceptualize	exactly	what	that	would	look	
    like,	but	I	thought	I	would	put	that	out	there	in	case	someone	else	can.						

    -Daniel	Rudd”	



After this point, Plaintiff did not hear anything further regarding the issues raised
in the motion for sanction. Mr. Callahan did not specifically identify or explain why
any portion of Plaintiff’s motion sanctions should be withdrawn (because it was itself
sanctionable).



                                              /s/ Daniel William Rudd        10/22/2018
                                              Daniel William Rudd, Plaintiff (Pro Se)
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